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Joshua W. Denbeaux, Esq. ID# 013871996
DENBEAUX & DENBEAUX

366 Kinderkamack Road

Westwood, NJ 07675

Phone: 201-664-8855

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

Timothy Condon, individually on behalf __)
of himself and all others similarly situated _)
and John Does (1-100) on behalf of )
themselves and all others similarly situated, )

Plaintiffs,
V. No. 7:16-cv-02295-VB
Commonwealth Dairy LLC,
Defendant.
)
APPEARANCE

Joshua W. Denbeaux, Esq., hereby enters his appearance on behalf of Defendant

Commonwealth Dairy LLC.

Westwood, New Jersey DENBEAUX & DENBEAUX
January 25, 2017

/s/ Joshua W. Denbeaux

 

Joshua W. Denbeaux
(Attorney ID# 013871996)
366 Kinderkamack Road
Westwood, NJ 07675

Phone: 201-664-8855
jdenbeaux@denbeauxlaw.com

ATTORNEYS FOR DEFENDANT
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CERTIFICATE OF SERVICE
I certify that on January 25, 2017 I filed the forgoing document with the Court via the
CM/ECF system, which will automatically deliver electronic copies of the same to all counsel of

record.

/s/ Joshua W. Denbeaux

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